            Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 1 of 21


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 6                                 UNITED STATES DISTRICT COURT

 7                             NORTHERN DISTRICT OF CALIFORNIA
 8
                                         SAN FRANCISCO DIVISION
 9

10
     IN RE GOOGLE PLAY STORE
11   ANTITRUST LITIGATION                                     Case No. 3:21-md-02981-JD

12   THIS DOCUMENT RELATES TO:                                STIPULATED [PROPOSED]
13                                                            SUPPLEMENTAL PROTECTIVE
     Epic Games Inc. v. Google LLC et al., Case               ORDER GOVERNING SOURCE CODE
14   No. 3:20-cv-05671-JD
                                                              Judge: Hon. James Donato
15   In re Google Play Consumer Antitrust
     Litigation, Case No. 3:20-cv-05761-JD
16

17   In re Google Play Developer Antitrust
     Litigation, Case No. 3:20-cv-05792-JD
18
     State of Utah et al. v. Google LLC et al., Case
19   No. 3:21-cv-05227-JD
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           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 2 of 21




 1          WHEREAS, on December 10, 2020, the Court entered a Stipulated Protective Order in

 2   the above-captioned cases, Case No. 3:20-cv-05671-JD, Dkt. No. 110, approving Dkt. No. 106-

 3   1; Case No. 3:20-cv-05761-JD, Dkt. No. 117, approving Dkt. No. 109-1; Case No. 3:20-cv-

 4   05792-JD, Dkt. No. 78, approving Dkt. No. 76-1, and subsequently entered the operative Second

 5   Amended Protective Order on December 20, 2021, Case No. 3:21-md-02981-JD, Dkt. No. 170,

 6   approving Dkt. No. 154 (the “Protective Order”);

 7          WHEREAS, on May 20, 2021, the Court entered a Stipulated Supplemental Protective

 8   Order Governing Production of Protected Non-Party Materials in the above-captioned cases,

 9   Case No. 3:20-cv-05761-JD, Dkt. No. 165, Case No. 3:20-cv-05671-JD, Dkt. No. 147, Case No.

10   3:20-cv-05792-JD, Dkt. No. 117, and subsequently entered the operative Amended Supplemental

11   Protective Order Governing Production of Protected Non-Party Materials on October 22, 2021,

12   Case No. 3:21-md-02981-JD, Dkt. No. 124, approving Dkt. No. 117 (“Supplemental Protective

13   Order re: Non-Party Materials”).

14          WHEREAS, materials that Parties intend to produce in the Litigations may contain

15   Source Code (as defined herein);

16          WHEREFORE, IT IS HEREBY ORDERED that documents or information disclosed or

17   produced by Parties to the extent such documents or information are designated as containing

18   Source Code in connection with the Litigations shall be subject to the following provisions (the
19   “Supplemental Protective Order Re: Source Code”):

20          1.   GENERAL PROVISIONS

21               1.1      The definitions, terms and provisions contained in the Protective Order and

22   Supplemental Protective Order re: Non-Party Materials shall be incorporated herein by

23   reference as though fully set forth herein; provided, however, that in the event of a conflict

24   between any definition, term, or provision of this Supplemental Protective Order re: Source

25   Code and any definition, term, or provision of the Protective Order and/or Supplemental

26   Protective Order re: Non-Party Materials, this Supplemental Protective Order re: Source Code
27   will control with respect to such conflict.

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            STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 3 of 21




 1              1.2       The definitions, terms and provisions contained in this Supplemental

 2   Protective Order shall apply only to those Discovery Materials designated as Source Code in

 3   accordance with this Supplemental Protective Order re: Source Code, and nothing herein shall

 4   provide any rights or protections to the Parties to the Litigations beyond those set forth in the

 5   Protective Order.

 6         2.   DEFINITIONS

 7              2.1       Confidential Information or Items: information (regardless of how it is

 8   generated, stored or maintained) or tangible things that qualify for protection under Federal

 9   Rule of Civil Procedure 26(c).

10              2.2       Source Code: extremely sensitive “Confidential Information or Items”

11   consisting of non-publicly available computer code and associated comments and revision

12   histories, formulas, engineering specifications, or schematics that define or otherwise describe

13   in detail the algorithms or structure of software or hardware designs, disclosure of which other

14   than pursuant to the terms of this Supplemental Protective Order re: Source Code would create a

15   substantial risk of serious harm to the Producing Party that could not be avoided by less

16   restrictive means.

17              2.3       Source Code Documents: a pleading, exhibit, expert report, discovery

18   document, deposition transcript, other Court document, or any drafts of these documents, that
19   contains limited excerpts of Source Code.

20         3.   INFORMATION DESIGNATED RESTRICTED CONFIDENTIAL - SOURCE
                CODE
21
                3.1       The RESTRICTED CONFIDENTIAL - SOURCE CODE designation is
22
     reserved for Source Code. The following conditions shall govern the production, review and
23
     use of Source Code.
24
                3.2       All such Source Code designated as “RESTRICTED CONFIDENTIAL -
25
     SOURCE CODE,” shall be subject to the following provisions:
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           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 4 of 21




 1                       (a) Source Code, to the extent any Producing Party agrees to provide any

 2   such information, shall ONLY be made available for inspection, not produced except as

 3   provided for below, and shall be made available in electronic format at an office of the

 4   Producing Party’s Counsel or at a location mutually agreed upon by the Receiving and

 5   Producing Parties. Any review location shall be in the continental United States. Source Code

 6   will be loaded on one or more (as proportionate to the volume of source code to be reviewed)

 7   non-networked computers (“Source Code Computer(s)”) that are password protected and

 8   maintained in a secure, locked area. Except as otherwise provided, use or possession of any

 9   input/output device (e.g., USB memory stick, cameras or any camera-enabled device, CDs,

10   floppy disk, portable hard drive, laptop, or any devices that can access the Internet or any other

11   network or external system, etc.) will be prohibited while accessing the computer(s) containing

12   the Source Code. Proper identification of all authorized persons shall be provided prior to any

13   access to the locked area or the Source Code Computer(s). Proper identification requires

14   showing, at a minimum, a photo identification card sanctioned by the government of any State

15   of the United States, or by the government of the United States. All persons entering the locked

16   room containing the Source Code must agree to submit to reasonable security measures to

17   ensure they are not carrying any prohibited items before they will be given access to the locked

18   room. The computer(s) containing Source Code will be made available for inspection during
19   regular business hours on normal business days, upon reasonable notice to the Producing Party,

20   which shall not be less than three business days in advance of the requested inspection. The

21   Producing Party may visually monitor the activities of the Receiving Party’s representatives

22   during any source code review, but only to ensure that there is no unauthorized recording,

23   copying, or transmission of the source code. The Producing Party shall not be permitted to view

24   any work product generated by the Receiving Party or the Receiving Party’s representative(s),

25   and the Producing Party shall not install any keystroke or other monitoring software on the

26   Source Code Computer(s).
27                       (b) The Receiving Party’s Outside Counsel of Record and/or Experts may

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           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 5 of 21




 1   request that commercially available licensed software tools for viewing and searching Source

 2   Code be installed on the Source Code Computer(s). If the Producing Party has access to or a

 3   license for such software, it shall install such software in advance of the source code review. If

 4   the Producing Party does not have access to or a license for such software, it shall notify the

 5   Receiving Party at least ten business days in advance of the inspection, who will then have an

 6   opportunity to provide the Producing Party such software tool(s) at least four business days in

 7   advance of the inspection, which will then be installed on the Source Code Computer(s).

 8                       (c) The Producing Party shall provide the Receiving Party with information

 9   explaining how to start, log on to, and operate the Source Code Computer(s) in order to access

10   the Source Code at the time of the review.

11                       (d) The Receiving Party shall be entitled to take handwritten notes relating

12   to the Source Code but may not copy the Source Code into such notes. Any such notes shall not

13   include copies or reproductions of portions of the Source Code; however, the notes may contain

14   filenames, directory names, module names, class names, parameter names, variable names,

15   function names, method names, comments or procedure names. No copies of all or any portion

16   of the source code may leave the room in which the Source Code is inspected except as

17   otherwise provided herein. Further, no other written or electronic record of the Source Code is

18   permitted except as otherwise provided herein. No notes shall be made or stored on the Source
19   Code Computer(s), or left behind at the site where the Source Code Computer(s) are made

20   available, and any such notes shall be deleted or destroyed by the Producing Party, without

21   reviewing the substance of the notes, upon discovery. Notwithstanding the foregoing, any such

22   notes shall be stamped and treated as “RESTRICTED CONFIDENTIAL-SOURCE CODE.”

23                       (e) No person shall copy, e-mail, transmit, upload, download, print,

24   photograph or otherwise duplicate any portion of the designated Source Code, except the

25   Receiving Parties may request a reasonable number of pages of Source Code to be printed by

26   the Producing Party, but only if and to the extent necessary for use in this action. The
27   Receiving Parties may not print more than twenty-five consecutive pages of Source Code and

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           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 6 of 21




 1   an aggregate total of more than 1000 pages of Source Code unless the Producing Party agrees,

 2   provided that the Producing Party agrees not to object to the Receiving Parties’ request so long

 3   as these limits are not exceeded. In order to print more than twenty-five consecutive pages of

 4   Source Code or an aggregate of more than 1000 Pages of Source Code, the Receiving Parties

 5   must obtain the prior written approval of the Producing Party. Within five business days or such

 6   additional time as necessary due to volume requested, the Producing Party will provide four

 7   copies of the requested material on watermarked or colored paper bearing Bates numbers and

 8   the legend “RESTRICTED CONFIDENTIAL - SOURCE CODE” on each page, unless

 9   objected to as discussed below. The printed pages shall constitute part of the Source Code

10   produced by the Producing Party in this action. All copies shall be handled as if they are

11   originals consistent with the terms of this Order. The printed pages must be produced in a

12   legible, clear fashion, and shall not be rasterized or blurred or in any way distorted from the

13   generated pdf original during the production process.

14                       (f) If the Receiving Parties request printing in excess of twenty-five

15   consecutive pages or an aggregate total of more than 1000 pages of the Source Code and the

16   Producing Party objects, the Producing Party shall make such objection known to the Receiving

17   Parties within five business days. If after meeting and conferring the Producing Party and the

18   Receiving Parties cannot resolve the objection (where such meet-and-confer need not take place
19   in person), the Receiving Party shall be entitled, but not required, to seek a Court resolution of

20   whether the printed Source Code in question is reasonably necessary to any case preparation

21   activity. Contested Source Code print outs need not be produced to the Requesting Parties until

22   the matter is resolved by the Court.

23                       (g) Any printed pages of Source Code designated by the Producing Party as

24   “RESTRICTED CONFIDENTIAL - SOURCE CODE” may not be copied, digitally imaged or

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           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 7 of 21




 1   otherwise duplicated, except in limited excerpts necessary to attach as exhibits to depositions,

 2   expert reports, or court filings as discussed below.

 3                       (h) Any paper copies designated “RESTRICTED CONFIDENTIAL -

 4   SOURCE CODE” shall be stored or viewed only at (i) the offices of Outside Counsel of Record

 5   for the Receiving Party, (ii) the offices of outside Experts or consultants who have been

 6   approved to access Source Code; (iii) the site where any deposition is taken; (iv) the courthouse;

 7   or (v) any intermediate location necessary to transport the information to a hearing, trial or

 8   deposition. Any such paper copies shall be maintained at all times in a secure location under

 9   the direct control of Counsel responsible for maintaining the security and confidentiality of the

10   designated materials or under the direct control of such Counsel’s Experts or consultants who

11   have been approved to access Source Code.

12                       (i) A list of names of persons who will view the Source Code at the office

13   of the Producing Party’s Counsel or at a location mutually agreed upon by the Receiving and

14   Producing Parties will be provided to the Producing Party in conjunction with any written

15   (including email) notice requesting inspection. The Receiving Party shall maintain a daily log

16   of the names of persons who enter the locked room to view the Source Code and when they

17   enter and depart. The Producing Party shall be entitled to have a person observe all entrances

18   and exits from the Source Code viewing room, and to a copy of the log, but only to ensure that
19   there is no unauthorized access, recording, copying or transmission of the Source Code.

20                       (j) Unless otherwise agreed in advance by the Parties in writing, following

21   each inspection, the Receiving Party’s Outside Counsel of Record and/or Experts shall remove

22   all notes, documents, and all other materials from the room that may contain work product

23   and/or attorney-client privileged information. The Producing Party shall not be responsible for

24   any items left in the room following each inspection session.

25                       (k) The Receiving Party will not copy, remove, or otherwise transfer any

26   portion of the Source Code from the Source Code Computer(s) including, without limitation,
27   copying, removing, or transferring any portion of the Source Code onto any other computers or

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           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
               Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 8 of 21




 1   peripheral equipment. The Receiving Party will not transmit any portion of the Source Code in

 2   any way from the location of the Source Code inspection.

 3                          (l) Only the following individuals shall have access to “RESTRICTED

 4   CONFIDENTIAL - SOURCE CODE” materials, absent the express written consent of the

 5   Producing Party or further court order:

 6                                  i. Outside counsel of Record for the Parties to this action, including

 7   any attorneys, paralegals, technology specialists and clerical employees of their respective law

 8   firms;

 9                                  ii. Up to three Experts and/or consultants per Plaintiff Group (except

10   upon the express written consent of the Producing Party, such consent not to be unreasonably

11   withheld), pre-approved in accordance with Paragraphs 6.1-6.7 and specifically identified as

12   eligible to access Source Code. For the avoidance of doubt, Plaintiff Group shall refer to the

13   Plaintiff or putative class of Plaintiffs in one of the following actions: (i) Epic Games Inc. v.

14   Google LLC et al., Case No. 3:20-cv-05671-JD; (ii) In re Google Play Consumer Antitrust

15   Litigation, Case No. 3:20-cv-05671-JD; (iii) In re Google Play Developer Antitrust Litigation,

16   Case No. 3:20-cv-05792-JD; and (iv) State of Utah et al. v. Google LLC et al., Case No. 3:21-

17   cv-05227-JD.

18                                  iii. The Court, its technical advisor (if one is appointed), the jury,
19   court personnel, and court reporters or videographers recording testimony or other proceedings

20   in this action. Court reporters and/or videographers shall not retain or be given copies of any

21   portions of the Source Code. If used during a deposition, the deposition record will identify the

22   exhibit by its production numbers;

23                                  iv. While testifying at deposition or trial in this action only: (i) any

24   current or former officer, director or employee of the Producing Party or original source of the

25   information; (ii) any person designated by the Producing Party to provide testimony pursuant to

26   Rule 30(b)(6) of the Federal Rules of Civil Procedure; and/or (iii) any person who authored,
27   previously received (other than in connection with this litigation), or was directly involved in

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              STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
              Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 9 of 21




 1   creating, modifying, or editing the Source Code, as evident from its face or reasonably certain in

 2   view of other testimony or evidence. Persons authorized to view Source Code pursuant to this

 3   sub-paragraph shall not retain or be given copies of the Source Code except while so testifying.

 4                       (m) The Receiving Party’s Outside Counsel of Record shall maintain a log of

 5   all copies of the Source Code (received from a Producing Party) that are delivered by the

 6   Receiving Party to any qualified person under Paragraph l above. The log shall include the

 7   names of the recipients and reviewers of copies and locations where the copies are stored. Upon

 8   request by the Producing Party, the Receiving Party shall provide reasonable assurances and/or

 9   descriptions of the security measures employed by the Receiving Party and/or qualified person

10   that receives a copy of any portion of the Source Code;

11                       (n) Except as provided in this paragraph, the Receiving Party may not create

12   electronic images, or any other images, of the Source Code from the paper copy for use on a

13   computer (e.g., may not scan the source code to a PDF, or photograph the code). The Receiving

14   Party may create an electronic copy or image of limited excerpts of Source Code only to the

15   extent necessary in a pleading, exhibit, expert report, discovery document, deposition transcript,

16   other Court document, or any drafts of these documents (i.e., Source Code Documents). The

17   Receiving Party shall only include such excerpts as are reasonably necessary for the purposes

18   for which such part of the Source Code is used. Images or copies of Source Code shall not be
19   included in correspondence between the parties (references to production numbers shall be used

20   instead) and shall be omitted from pleadings and other papers except to the extent permitted

21   herein. The Receiving Party may create an electronic image of a selected portion of the Source

22   Code only when the electronic file containing such image has been encrypted using

23   commercially reasonable encryption software including password protection. The

24   communication and/or disclosure of electronic files containing any portion of Source Code shall

25   at all times be limited to individuals who are authorized to see Source Code under the

26   provisions of this Protective Order. The Receiving Party shall maintain a log of all electronic
27   images and paper copies of Source Code in its possession or in the possession of its retained

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           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 10 of 21




 1    consultants, including the names of the recipients and reviewers of any electronic or paper

 2    copies and the locations where the copies are stored. Additionally, all electronic copies must be

 3    labeled “RESTRICTED CONFIDENTIAL - SOURCE CODE.”

 4                         (o) To the extent portions of Source Code are quoted in a Source Code

 5    Document, either (1) the entire document will be stamped and treated as RESTRICTED

 6    CONFIDENTIAL - SOURCE CODE or (2) those pages containing quoted Source Code will be

 7    separately bound, and stamped and treated as RESTRICTED CONFIDENTIAL - SOURCE

 8    CODE.

 9                         (p) All copies of any portion of the Source Code in whatever form shall be

10   securely destroyed if they are no longer in use. Copies of Source Code that are marked as

11   deposition exhibits shall not be provided to the Court Reporter or attached to deposition

12   transcripts; rather, the deposition record will identify the exhibit by its production numbers.

13                         (q) The Receiving Party’s outside counsel may only disclose a copy of the

14   Source Code to individuals specified in Paragraph (l) above (e.g., Source Code may not be

15   disclosed to in-house counsel).

16           4.   PROSECUTION BAR

17           Absent written consent from the Producing Party, any individual who receives access to

18   any information that is designated RESTRICTED CONFIDENTIAL – SOURCE CODE shall
19   not be involved in the prosecution of patents or patent applications relating to the following

20   subject matters: a) automated scanning of mobile apps; b) automatic updating of mobile apps in a

21   store; and/or c) in-app purchasing on mobile devices, excluding patent or patent applications

22   directed at blockchain technologies (“Subject Matter Categories”). The Parties agree that these

23   Subject Matter Categories may need to be supplemented if additional Source Code is requested

24   after entry of this Order.

25           Notwithstanding the foregoing, however, nothing herein shall preclude any individual

26   from the prosecution of patents or patent applications relating to any of the foregoing Subject
27   Matter Categories unless such individual in fact reviewed RESTRICTED CONFIDENTIAL –

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             STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
             Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 11 of 21




 1   SOURCE CODE information relating to that Subject Matter Category. For example, an

 2   individual who reviewed RESTRICTED CONFIDENTIAL – SOURCE CODE information

 3   relating to automatic updating of mobile apps in a store, but not in-app purchasing on mobile

 4   devices, would not be prohibited from the prosecution of patents or patent applications relating

 5   exclusively to in-app purchasing on mobile devices.

 6          Each individual who receives access to information designated RESTRICTED

 7   CONFIDENTIAL - SOURCE CODE shall provide an attestation that identifies whether they

 8   reviewed RESTRICTED CONFIDENTIAL – SOURCE CODE information in each of the

 9   Subject Matter Categories. For example, an individual who reviewed RESTRICTED

10   CONFIDENTIAL – SOURCE CODE information relating to automatic updating of mobile apps

11   in a store shall provide an attestation stating that they reviewed that category of Source Code. In

12   addition, as set forth in Attachment B, the Producing Party may limit an individual’s access to

13   certain areas of Source Code and/or the individual may not access certain areas of Source Code

14   based on the Subject Matter Categories identified in that individual’s attestation.

15           The parties will meet and confer in good faith on the process for accessing relevant

16   categorical source code and providing attestations. For purposes of this Paragraph 4,

17   “prosecution” includes directly or indirectly drafting, amending, advising, or otherwise affecting

18   the scope or maintenance of patent claims. To avoid any doubt, “prosecution” as used in this
19   paragraph does not include representing a party challenging or defending a patent before a

20   domestic or foreign agency (including, but not limited to, a reissue protest, ex parte

21   reexamination or inter partes reexamination). This Prosecution Bar shall begin when inspection

22   of RESTRICTED CONFIDENTIAL – SOURCE CODE information is first conducted by the

23   affected individual and shall end 2 years after the individual has last viewed the RESTRICTED-

24   CONFIDENTIAL – SOURCE CODE.

25          5. ACQUISITION BAR

26          Absent written consent from the Producing Party, any individual who receives access to
27   any information that is designated RESTRICTED CONFIDENTIAL – SOURCE CODE shall

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            STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 12 of 21




 1   not engage in any activity related to: (i) the acquisition of patents or patent applications (for any

 2   person or entity) relating to the Subject Matter Categories identified in Paragraph 4; or (ii)

 3   advising or counseling clients regarding the same.

 4          Notwithstanding the foregoing, however, nothing herein shall preclude any individual

 5   from such acquisition or counseling activity relating to any of the Subject Matter Categories

 6   unless such individual in fact reviewed RESTRICTED CONFIDENTIAL – SOURCE CODE

 7   information relating to that Subject Matter Category. Each individual who receives access to

 8   information designated RESTRICTED CONFIDENTIAL - SOURCE CODE shall provide an

 9   attestation that identifies whether they reviewed RESTRICTED CONFIDENTIAL – SOURCE

10   CODE information in each of the Subject Matter Categories, under the same terms and guidance

11   as Paragraph 4. This Acquisition Bar shall begin when inspection of RESTRICTED

12   CONFIDENTIAL – SOURCE CODE information is first conducted by the affected individual

13   and shall end 2 years after the individual has last viewed the RESTRICTED-CONFIDENTIAL –

14   SOURCE CODE.

15          6.   DISCLOSURE OF SOURCE CODE TO EXPERTS AND CONSULTANTS

16               6.1      Information designated by the Producing Party under the category of Source

17    Code and such copies of this information as are reasonably necessary for maintaining,

18    defending or evaluating this litigation may be furnished and disclosed to the Receiving Party’s
19    Experts and consultants.

20               6.2      No disclosure of Source Code to an Expert or consultant shall occur until that

21    person has signed the form attached hereto as Attachment A, and a signed copy has been

22    provided to the Producing Party; and to the extent there has been an objection under paragraph

23    6.3, that objection is resolved according to the procedures set forth below.

24               6.3      A party desiring to disclose Source Code to an Expert or consultant shall also

25   give prior written notice of the intended disclosure by email to the Producing Party and the

26   Producing Party shall have three business days after such notice is given to object in writing to
27   the disclosure. The party desiring to disclose Source Code to an Expert or consultant must

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            STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
            Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 13 of 21




 1   provide the following information for each Expert or consultant: name; city and state of primary

 2   residence; curriculum vitae; current employer; employment history for the past five years and a

 3   listing of cases in which the witness has testified as an expert at trial or by deposition within the

 4   preceding five years. No Source Code shall be disclosed to such Expert(s) or consultant(s) until

 5   after the expiration of the foregoing notice period and resolution of any objection.

 6   Notwithstanding the foregoing, however, any information provided by a Receiving Party

 7   pursuant to this paragraph shall be used by the Producing Party exclusively for purposes of

 8   ensuring that disclosure of Source Code to such Expert or consultant will not result in business

 9   or economic harm to the Producing Party. No information provided pursuant to the provisions

10   of this paragraph shall be used by a Producing Party in depositions or at trial, or in any other

11   effort to gain litigation advantage in the above-captioned proceedings.

12              6.4      A party objecting to disclosure of Source Code to an Expert or consultant

13   shall state with particularity the ground(s) of the objection. The objecting party’s consent to the

14   disclosure of Source Code to an Expert or consultant shall not be unreasonably withheld, and its

15   objection must be based on that party’s good faith belief that disclosure of its Source Code to

16   the Expert or consultant will result in specific business or economic harm to that party.

17              6.5      If after consideration of the objection, the party desiring to disclose the

18   Source Code to an Expert or consultant refuses to withdraw the Expert or consultant, that party
19   shall provide notice to the objecting party. Thereafter, the objecting party shall move the Court,

20   within three business days of receiving such notice, for a ruling on its objection. A failure to

21   file a motion within the three business day period, absent an agreement of the parties to the

22   contrary or for an extension of such three business day period, shall operate as an approval of

23   disclosure of the Source Code to the Expert or consultant. The parties agree to cooperate in

24   good faith to shorten the time frames set forth in this paragraph if necessary to abide by any

25   discovery or briefing schedules.

26              6.6      The objecting party shall have the burden of showing to the Court “good
27   cause” for preventing the disclosure of its Source Code to the Expert or consultant. This “good

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           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
            Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 14 of 21




 1   cause” shall include a particularized showing that: (1) the Source Code is Confidential

 2   Information or Items, (2) disclosure of the Source Code likely would result in a clearly defined

 3   and serious injury to the objecting party’s business, (3) the proposed Expert or consultant is in a

 4   position to allow the Source Code to be disclosed to or become known by the objecting party’s

 5   competitors, and (4) that the Expert’s or consultant’s access to Source Code may create other

 6   confidentiality or legal risks in connection with other patent-related activities or interests tied to

 7   the Expert or consultant.

 8               6.7      A party who has not previously objected to disclosure of Source Code to an

 9   Expert or consultant or whose objection has been resolved with respect to previously produced

10   information shall not be precluded from raising an objection to an Expert or consultant at a later

11   time with respect to materials or information that are produced after the time for objecting to

12   such an Expert or consultant has expired. Any such objection shall be handled in accordance

13   with the provisions set forth above in Section 6.1 through 6.6.

14         7.    EXPORT CONTROL
15               7.1      Disclosure of Source Code shall be subject to all applicable laws and
16   regulations relating to the export of technical data contained in such Source Code, including the
17   release of such technical data to foreign persons or nationals in the United States or elsewhere.
18   The Producing Party shall be responsible for identifying any such controlled technical data, and
19   the Receiving Party shall take measures necessary to ensure compliance. Without the Receiving
20   Parties agreeing that any laws or regulations relating to the export of technical data apply to any
21   Source Code in this matter, Receiving Parties and their experts or consultants shall not remove
22   any Source Code from the United States without providing Producing Party prior notification
23   and giving Producing Party five calendar days to object. Such objections will be subject to the
24   procedure set forth in Section 6.1 through 6.6. For the avoidance of doubt, the restrictions set
25   forth in this paragraph shall not apply to handwritten notes as described in 3.2(d).
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            STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
            Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 15 of 21




        ATTACHMENT A TO THE AGREED SUPPLEMENTAL PROTECTIVE ORDER
 1
            GOVERNING SOURCE CODE CONFIDENTIALITY AGREEMENT
 2
        1. My name is ______________________________________________________.
 3
        2. I reside at ________________________________________________________.
 4
        3. My present employer is ____________________________________________.
 5

 6      4. My present occupation or job description is _____________________________.

 7      5. I have read the Agreed Supplemental Protective Order Governing Source Code dated
           _________________, and have been engaged as _______________________________
 8         on behalf of _____________________________in the preparation and conduct of
 9         litigation styled [CASE CAPTION].

10      6. I am fully familiar with and agree to comply with and be bound by the provisions of said
           Order. I understand that I am to retain all copies of any documents designated as
11         RESTRICTED CONFIDENTIAL - SOURCE CODE, or any similar designation, in a
12         secure manner, and that all copies are to remain in my personal custody until I have
           completed my assigned duties, whereupon the copies and any writings prepared by me
13         containing any information designated RESTRICTED CONFIDENTIAL - SOURCE
14         CODE, or any similar designation, are to be returned to counsel who provided me with
           such material.
15
        7. I will not divulge to persons other than those specifically authorized by said Order and
16         will not copy or use except solely for the purpose of this action, any information obtained
17         pursuant to said Order, except as provided in said Order. I also agree to notify any
           stenographic or clerical personnel who are required to assist me of the terms of said
18         Order.
19      8. In accordance with paragraph 5.3 of the Agreed Supplemental Protective Order
20         Governing Source Code Order (if applicable), I have attached my resume, curriculum
           vitae or other information to this executed Confidentiality Agreement sufficient to
21         identify my current employer and employment history for the past five years, and the
22         cases in which I have testified as an expert at trial or by deposition within the preceding
           five years.
23
        9. I state under penalty of perjury under the laws of the United States of America that the
24         foregoing is true and correct.
25

26   By: ______________________________________________

27   Executed on __________________________ 20____.

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           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
         Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 16 of 21




     ATTACHMENT B TO THE AGREED SUPPLEMENTAL PROTECTIVE ORDER
 1
         GOVERNING SOURCE CODE CONFIDENTIALITY AGREEMENT
 2

 3   •   Subject Matter Category: Automated Scanning of Mobile Apps: An individual who
         accesses or seeks access to the following source code directories must attest to the review
 4       of source code that scans apps on both Android clients and the Play Store servers for
         policy violations, including Google Play Protect and Advanced Protection Program.
 5           o /java/com/google
             o /quality
 6
             o /security
 7           o /wireless

 8   •   Subject Matter Category: Automatic Updating of Mobile Apps in a Store: An individual
         who accesses or seeks access to the following source code directories must attest to the
 9       review of source code that is responsible for automatically updating apps distributed by
10       the Play Store.
             o /play/console
11           o /wireless

12   •   Subject Matter Category: In-App Purchasing on Mobile Devices (excluding patent or
         patent applications directed at blockchain technologies): An individual who seeks access
13
         to the following source code directories must attest to the review of source code that is
14       responsible for in-app purchasing within Play on Android devices
             o /wireless
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         STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
         Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
           Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 17 of 21




     Dated: April 7, 2022                              CRAVATH, SWAINE & MOORE LLP
 1                                                       Christine Varney (pro hac vice)
 2                                                       Katherine B. Forrest (pro hac vice)
                                                         Darin P. McAtee (pro hac vice)
 3                                                       Gary A. Bornstein (pro hac vice)
                                                         Timothy G. Cameron (pro hac vice)
 4                                                       Yonatan Even (pro hac vice)
                                                         Lauren A. Moskowitz (pro hac vice)
 5
                                                         Omid H. Nasab (pro hac vice)
 6                                                       Justin C. Clarke (pro hac vice)
                                                         M. Brent Byars (pro hac vice)
 7
                                                       FAEGRE DRINKER BIDDLE & REATH LLP
 8                                                       Paul J. Riehle (SBN 115199)
 9                                                     Respectfully submitted,
10
                                                       By:      /s/ Justin C. Clarke
11                                                              Justin C. Clarke

12                                                              Counsel for Plaintiff Epic Games, Inc.
13

14
     Dated: April 7, 2022                              BARTLIT BECK LLP
15                                                       Karma M. Giulianelli

16                                                     KAPLAN FOX & KILSHEIMER LLP
                                                         Hae Sung Nam
17

18
                                                             Respectfully submitted,
19
                                                       By:      /s/ Karma Giulianelli
20                                                              Karma M. Giulianelli
21
                                                             Co-Lead Counsel for the Proposed Class in
22                                                           In re Google Play Consumer Antitrust
                                                             Litigation
23

24

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           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
           Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 18 of 21




     Dated: April 7, 2022                              PRITZKER LEVINE LLP
 1                                                       Elizabeth C. Pritzker
 2
                                                       Respectfully submitted,
 3
                                                       By:      /s/ Elizabeth Pritzker
 4                                                              Elizabeth C. Pritzker
 5
                                                             Liaison Counsel for the Proposed Class in
 6                                                           In re Google Play Consumer Antitrust
                                                             Litigation
 7
     Dated: April 7, 2022                              HAGENS BERMAN SOBOL SHAPIRO LLP
 8                                                       Steve W. Berman
                                                         Robert F. Lopez
 9
                                                         Benjamin J. Siegel
10
                                                       SPERLING & SLATER PC
11                                                       Joseph M. Vanek
                                                         Eamon P. Kelly
12                                                       Alberto Rodriguez
13
                                                       Respectfully submitted,
14
                                                       By:      /s/ Steve Berman
15                                                              Steve W. Berman
16                                                              Co-Lead Interim Class Counsel for the
17                                                              Developer Class and Attorneys for Plaintiff
                                                                Pure Sweat Basketball
18
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           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
           Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 19 of 21




 1   Dated: April 7, 2022                              HAUSFELD LLP
                                                         Bonny E. Sweeney
 2                                                       Melinda R. Coolidge
                                                         Katie R. Beran
 3                                                       Scott A. Martin
 4                                                       Irving Scher

 5
                                                       Respectfully submitted,
 6
                                                       By:      /s/ Bonny Sweeney
 7
                                                                Bonny E. Sweeney
 8
                                                                Co-Lead Interim Class Counsel for the
 9                                                              Developer Class and Attorneys for Plaintiff
                                                                Peekya App Services, Inc.
10

11
     Dated: April 7, 2022                              OFFICE OF THE UTAH ATTORNEY
12                                                     GENERAL
                                                         Brendan P. Glackin
13

14                                                     Respectfully submitted,
15
                                                       By:      /s/ Brendan P. Glackin
16                                                              Brendan P. Glackin

17                                                     Counsel for Utah
18
19   Dated: April 7, 2022                              MORGAN, LEWIS & BOCKIUS LLP
                                                         Brian C. Rocca
20                                                       Sujal J. Shah
                                                         Michelle Park Chiu
21                                                       Minna L. Naranjo
                                                         Rishi P. Satia
22

23
                                                       Respectfully submitted,
24
                                                       By:      /s/ Brian Rocca
25                                                              Brian C. Rocca
26
                                                       Counsel for Defendants Google LLC et al.
27

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                                                           19
           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
           Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 20 of 21




 1
     Dated: April 7, 2022                              O’MELVENY & MYERS LLP
 2                                                       Daniel M. Petrocelli
                                                         Ian Simmons
 3                                                       Benjamin G. Bradshaw
 4                                                       E. Clay Marquez
                                                         Stephen J. McIntyre
 5

 6                                                     Respectfully submitted,
 7                                                     By:       /s/ Ian Simmons
 8                                                              Ian Simmons

 9                                                     Counsel for Defendants Google LLC et al.

10   Dated: April 7, 2022                              MUNGER, TOLLES & OLSON LLP
                                                         Glenn D. Pomerantz
11
                                                         Kyle W. Mach
12                                                       Kuruvilla Olasa
                                                         Justin P. Raphael
13                                                       Emily C. Curran-Huberty
                                                         Jonathan I. Kravis
14
                                                                Respectfully submitted,
15

16                                                     By:      /s/ Glenn D. Pomerantz
                                                                Glenn D. Pomerantz
17
                                                       Counsel for Defendants Google LLC et al.
18
19
                                                       ORDER
20
           Pursuant to stipulation, it is so ordered.
21

22   DATED: May 16, 2022
23

24                                                      ________________________________________
                                                             HON. JAMES DONATO
25                                                           United Stated District Judge
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27

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                                                           20
           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:21-md-02981-JD Document 231 Filed 05/16/22 Page 21 of 21



                                           E-FILING ATTESTATION
 1

 2
     I, Brian Rocca, am the ECF User whose ID and password are being used to file this document.
 3
     In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the signatories
 4
     identified above has concurred in this filing.
 5
                                                                        /s/ Brian Rocca
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            STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER GOVERNING SOURCE CODE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
